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 1   Federal Public Defender
     District of Arizona
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     Phoenix, Arizona 85007
 3   Telephone: 602-382-2700
 4   MARK RUMOLD
     California Bar #279060
 5   Asst. Federal Public Defender
     Attorney for Defendant
 6   mark_rumold@fd.org
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                         IN THE UNITED STATES DISTRICT COURT
 8
                                 DISTRICT OF ARIZONA
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10                                                   No. CR-20-00634-PHX-DWL
11   United States of America,                  MOTION TO CONTINUE TIME TO
                                                    FILE OBJECTIONS TO
12                Plaintiff,                       PRESENTENCE REPORT
13         vs.                                                (First Request)
14   Jill Marie Jones,
15                Defendant.
16
           Defendant Jill Marie Jones, through undersigned counsel, respectfully
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     requests the Court continue the time to file objections to the Presentence Report in
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     this matter for a period of at least sixty (60) days from the current date of May 19,
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     2023. Sentencing is currently set for October 2, 2023.
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           The Sentencing Guideline issues in this case are complex, and additional
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     time is necessary to evaluate those objections, if any, Ms. Jones has to the
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     Presentence Report. Because sentencing was recently continued until October 2, a
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     sixty-day continuance will provide ample time for the parties to fully evaluate and

25   complete briefing of any objections in advance of sentencing.

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 1         Defense counsel contacted Assistant United States Attorney David Pimsner
 2   about the requested continuance, and Mr. Pimsner advised that the United States
 3   has no objection.
 4         Excludable delay under will not result from this motion or from an order
 5   based thereon.
 6               Respectfully submitted: May 19, 2023
 7
                                          JON M. SANDS
 8                                        Federal Public Defender
 9
                                          s/Mark Rumold
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                                          MARK RUMOLD
11                                        Asst. Federal Public Defender
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